Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OKLAHOMA


  EXPLORER PIPELINE COMPANY                       )
                 Plaintiff                        )
                                                  )
  v.                                              )       Case No 17-cv-330-GKF-FHM
                                                                  _________________
                                                  )
  AMERICAN GUARANTEE &                            )       JURY TRIAL DEMANDED
  LIABILITY INSURANCE COMPANY                     )
                  Defendant                       )


                                         COMPLAINT

         Plaintiff, Explorer Pipeline Company (“Explorer”), for its Complaint against Defendant

  American Guarantee & Liability Insurance Company (“AGLIC”), alleges and states as follows:

                                    NATURE OF COMPLAINT

         1.      This is an action for monetary damages and declaratory judgment arising out

  of AGLIC’s breach of its insurance contract with Explorer.

                                                 PARTIES

         2.      Explorer is a Delaware corporation with its principal offices at 6120 S. Yale

  Ave., Tulsa, Oklahoma 74136-4250.

         3.      AGLIC is an insurance company organized and existing under the laws of New

  York with its principle place of business in Schaumburg, Illinois.

         4.      AGLIC is licensed by the Oklahoma Insurance Commission to do business in

  Oklahoma and can be served with process through the Oklahoma Insurance Commissioner

  pursuant to Okla. Stat. tit. 36 §§ 621, 622.




                                                      1
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 2 of 8




                                 JURISDICTION AND VENUE

         5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a),

  as it concerns a controversy between citizens of different states, and the amount in

  controversy exceeds $75,000, exclusive of interests and costs.

         6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and (2)

  insofar as AGLIC resides in the Northern District and a substantial part of the events or

  omissions giving rise to the claim occurred in the Northern District.

                                               FACTS

         7.      Explorer is a pipeline company, headquartered in Tulsa, Oklahoma, that owns and

  operates a pipeline and associated facilities extending from Port Arthur, Texas (near Houston,

  Texas) to Hammond, Indiana (near Chicago, Illinois) (the “Pipeline”).

         8.      Explorer obtained a contract of insurance from AGLIC (the “Policy”) which was

  entered into and delivered in Tulsa, Oklahoma to provide coverage for the Pipeline and any

  damages (including costs of investigation and remediation) incurred in connection with the

  release of petroleum products from the Pipeline. The Policy is to be governed and construed

  according to Oklahoma law.

         9.      The Policy was an Excess Liability Policy (Policy No. EOG 9309894-01) issued

  to Explorer, on a follow form basis, effective October 1, 2003 to October 1, 2004.

         10.     The Policy provided liability coverage of twenty-five million dollars each

  occurrence/aggregate, in excess of a five million dollar self-insurance retention.

         11.     The insurance policies underlying the Policy included a twenty-five million dollar

  policy (Policy No. GE 2977830) issued by National Union Fire Insurance Company of

  Pittsburgh, PA (the “National Union Policy”) and a twenty-five million dollar first layer excess




                                                   2
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 3 of 8




  policy (Policy No. C000931/002) issued by Allied World Assurance Company, Ltd. (“AWAC

  Policy”).

         12.     On or about September 28, 2004, the Pipeline unexpectedly ruptured near

  Holdenville, Oklahoma, resulting in the release of diesel fuel into the environment (the

  “Release”).

         13.     Explorer determined that the released diesel fuel permeated the subsurface soil

  and rock formations to a depth of approximately 40 feet and migrated through fractures in the

  subsurface rock.

         14.     The Oklahoma Corporation Commission (“OCC”) is the state agency with

  jurisdiction over the cleanup of the Release from the Pipeline.

         15.     The OCC has directed Explorer to investigate and remediate the Release.

         16.     Upon evaluating the results of the investigation and potential methods for

  remediating the Release, it was determined that the most effective method to remediate the diesel

  fuel would be to excavate the impacted soil and treat the soil ex-situ. This information was

  reviewed by National Union and AWAC, both of which agreed with the conclusions.

         17.     The approved remediation process involves excavating and stockpiling

  uncontaminated soil, excavating the soil and rock contaminated by the Release, treating the

  contaminated soil and rock using an on-site thermal desorption system, stockpiling the treated

  materials as necessary and backfilling and restoring the area with the treated materials and

  uncontaminated soil.

         18.     Explorer sought competitive bids for the remediation work and awarded the

  contract to James R. Roderick and Associates (“Roderick”) in or about July, 2005.




                                                  3
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 4 of 8




          19.     As of December 31, 2016, Roderick had excavated and treated approximately

  1,340,000 tons of soil at the site.

          20.     To date, Explorer has expended over $65,500,000 on the investigation and

  remediation of the Release and expects to spend significant additional amounts to complete the

  remediation project.

          21.     Throughout the remediation process, Explorer worked closely with National

  Union and, later, with AWAC to review progress, evaluate potential remediation

  alternatives and cost reduction measures, and receive approval of its actions.

          22.     The costs incurred by Explorer in connection with the investigation and

  remediation of the Release are covered damages under the National Union, AWAC and

  AGLIC policies.

          23.     Explorer has paid the self-insured/retailed liability amount of $5,000,000

  under the Policy toward investigation and remediation of the Release.

          24.     As of November, 2015, both National Union and AWAC had paid the limits

  of their policies ($25,000,000 each) to Explorer for covered damages associated with the

  investigation and remediation of the Release without any reservation of rights.

          25.     As of November 15, 2015, Explorer met the damage threshold necessary to

  trigger coverage under the AGLIC Policy by virtue of having exhausted the $5,000,000

  self-insurance amount and the policy limits for covered damages under the National Union

  and AWAC policies.

          26.     Despite the payment of the full limits of the underlying policies by National

  Union and AWAC (a total of $50,000,000) toward investigation and remediation of the

  Release, AGLIC has refused and continues to refuse to honor its identical obligations for




                                                4
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 5 of 8




  payment of covered damages under its Policy and, on information and belief, has instead

  engaged in a payment delay strategy beginning in approximately November, 2015, and

  continuing through the present – more than a year and a half.

          27.     Between November 15, 2015 and May 15, 2017 Explorer submitted to

  AGLIC claims for payment of covered damages in the total amount of $8,624,906.96 as

  follows:

                          Invoice Date      Submission Amount
                                            No.
                          Nov. 2015         51          $282,894.45
                          Dec. 2015         55          $874,452.42
                          Feb. 2016         52          $951,927.12
                          Apr. 2016         53         $1,148.396.72
                          July 2016         54          $992,529.99
                          Sept. 2016        56         $1,187,864.47
                          Nov. 2016         57             $1,451.50
                          Dec. 2016         58         $1,455,353.30
                          Mar. 2017         59              $592.50
                          April 2017        60         $1,729,444.49
                               Total                   $8,624,906.96

          28.     To date, AGLIC has paid Explorer only $2,000,000.00 for the above claimed

  covered damages, subject to a full reservation of rights.

          29.     Unconditional payments for submission Nos. 51-58 are well past due.

          30.     Submission Nos. 59-60, submitted on May 15, 2017 will become past due on

  or about July 15, 2017.

                                       CAUSES OF ACTION
                                          COUNT I
                                     BREACH OF CONTRACT

          31.     Explorer adopts and incorporates the allegations contained in Paragraph 1 through

  30 as if fully set forth herein.




                                                  5
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 6 of 8




          32.     Explorer entered a contract for insurance (the Policy) with AGLIC whereby

  AGLIC agreed to provide coverage for damages in the form of cost expended for investigation

  and remediation of pollution from petroleum products released from the Pipeline.

          33.     At all times material hereto, including the time of the Release, the Policy was in

  full force and effect and Explorer had fully paid all required insurance premiums.

          34.     Explorer has timely and properly presented a claim for reimbursement of losses

  covered under the AGLIC Policy.

          35.     Explorer has complied with the terms and conditions of the Policy and all

  conditions precedent to payment thereunder by AGLIC for the expenses incurred in connection

  with the investigation and remediation have been performed or have occured.

          36.     As of May 15, 2017, Explorer has expended approximately $8,624,906.96 which

  is subject to payment as covered damages under the Policy.

          37.     AGLIC has failed to make full and unconditional payment of such damages to

  Explorer, without reservation of rights.

          38.     By failing to pay Explorer’s covered damages for the costs of investigation and

  remediation under the Policy, AGLIC has breached its contractual obligation under the Policy.

          39.     As a result of AGLIC’s breach of contract, Explorer has suffered and will

  continue to suffer significant financial loss.

                                            COUNT II
                                     DECLARATORY JUDGMENT

          40.     Explorer adopts and incorporates the allegations contained in Paragraph 1 through

  39 as if fully set forth herein.

          41.     Explorer seeks declaratory judgment pursuant to 28 U.S.C. § 2201 for purposes of

  determining a question of actual controversy between the parties concerning Explorer’s


                                                   6
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 7 of 8




  coverages under the subject policy.

         42.     Explorer seeks a declaration that the Policy provides full coverage for payment of

  past costs expended and all future costs to be incurred by Explorer to complete remediation of

  the Release and restoration of the land in accordance with the requirements of the OCC until

  Policy limits are exhausted.

         43.     Explorer further seeks a declaration that, under the follow form excess policy at

  issue, AGLIC is not permitted to review or challenge decisions of prior carriers approving

  actions taken to investigate/remediate the Release and restore of the land.

                                        PRAYER FOR RELIEF

         Wherefore, Explorer Pipeline Company respectfully requests the Court to enter judgment

  in favor of Explorer and against AGLIC, Inc. for the following:

         A.      Payment of all contractual benefits for coverages afforded to Explorer under the

                 Policy in connection with investigating and remediating the Release and restoring

                 the land in accordance with the requirements of the OCC.

         B.      Declaratory judgment requiring AGLIC to pay future costs incurred by Explorer

                 in connection with investigating and remediating the Release and restoring the

                 land in accordance with the requirements of the OCC until Policy limits are

                 exhausted.

         C.      Declaratory judgment that AGLIC is not permitted to review or challenge

                 decisions    of   prior   carriers   approving   actions   taken   by   Explorer   to

                 investigate/remediate the Release and restore of the land

         D.      Payment of pre- and post judgement interest on all amounts due.

         E.      Payment of attorneys’ fees, expert fees, costs and expenses for this action.




                                                      7
Case 4:17-cv-00330-GKF-FHM Document 2 Filed in USDC ND/OK on 06/12/17 Page 8 of 8




        F.     Such other relief as the court finds just and proper.

  Jury Trial Demanded




                                              Respectfully submitted,


                                              /s/Robert J Joyce
                                              Robert J. Joyce, OBA #12728
                                              McAfee & Taft A Professional Corporation
                                              2 West Second St., Ste. 1100
                                              Tulsa, OK 74103
                                              Telephone: (918) 587-0000
                                              Facsimile:     (918) 599-9317
                                              robert.joyce@mcafeetaft.com

                                              ATTORNEYS FOR PLAINTIFF
                                              EXPLORER PIPELINE COMPANY




                                                 8
